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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 09-20981-CIV-SCOLAIBANDSTRA-RNS

   SOUNG LANAZA, by and through her next friend
   and Attorney ad litem, The University of Miami
   Children and Youth Law Clinic,


                         Plaintiff
   v.

   STATE OF FLORIDA DEPARTMENT
   OF CHILDREN AND F AMILY SERVICES;
   NEKEITHA SWEETING HODRICK, individually,
   OUR KIDS, INC., ONE HOPE UNITED, INC.,
   fonnerly known as KIDS HOPE UNITED, INC.,
   FRANCES ALLEGRA, individually and ESTATE
   OF OLGA ROJAS,
                       Defendants
   --------~----------------------------~/
        PLAINTIFF SOUNG LANAZA'S FOURTH AMENDED COMPLAINT

           Plaintiff, SOUNG LANAZA, a minor child, by and through the University of Miami

   Children and Youth Law Clinic as her attorney ad litem and next friend, and by and through

   undersigned counsel, sues Defendants, STATE OF FLORIDA DEPARTMENT OF CHILDREN

   AND FAMILY SERVICES; ESTATE OF OLGA ROJAS; NAKEITHA SWEETING-

   HODRICK, individually; ONE HOPE UNITED, INC., (fonnerly known as KIDS HOPE

   UNITED, INC.); OUR KIDS, INC., and FRANCES ALLEGRA, individually, and states:

                                 PRELIMINARY STATEMENT

        1. This action seeks to redress damages inflicted upon the Plaintiff as a result of the

   DEFENDANTS' failure to uphold their duties to ensure that this vulnerable, developmentally

   disabled child received the services she needed while in the foster care system for her health,

   safety, and well-being, and to ensure she was adopted and not rendered a legal orphan. Plaintiff
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   is a special needs child with multiple profound disabilities including cerebral palsy, mild mental

   retardation, a seizure disorder, and hydrocephaly. She is unable to walk without assistance. The

   DEFENDANTS failed for years to assess and ensure that Plaintiff's medical and deVelopmental

   needs resulting from these conditions were met, as well as treatment for her related mental health

   problems, including low frustration tolerance, verbal outbursts, and other such mood and

   behavior problems. DEFENDANTS had a duty to Plaintiff to uphold her basic rights under the

   United States Constitution and as further alleged herein certain DEFENDANTS had a duty to

   uphold her rights under § 393.13, Florida Statutes, the Bill of Rights of Persons with

   Developmental Disabilities, but instead repeatedly violated these rights by failing to provide her

   with the services required to meet her needs while she was in foster care and to protect the

   integrity of her legal and human rights. DEFENDANTS failed to ensure that Plaintiff received

   the full extent of services required to achieve her deVelopmental potential while at the

   DEFENDANTS' mercy while she was in their custody as an orphan and ward of the State.

   DEFENDANTS left the Plaintiff in foster care for sixteen years of her life, allowed her condition

   to totally deteriorate, and failed to provide her with the necessary resources to address her

   multiple disabilities and permit her to become an independent adult.        When it was in the

   DEFENDANTS' financial interest, they quickly closed the case and abandoned the Plaintiff to

   remain an orphan without adequate financial resources to address her needs and without ever

   being adopted by a family who could support her lifelong needs. In addition, Plaintiff seeks

   damages to redress the deprivation, under color of state law, of her rights under the Fourth and

   Fourteenth Amendments to the United States Constitution because DEFENDANTS grossly

   disregarded those rights.




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                                           JURISDICTION

       2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1343, as an action

   brought pursuant to 42 U.S.C. § 1983, and pursuant to 28 U.S.c. § 1331, as a case brought

   pursuant to the Constitution and the laws of the United States.             The Court has pendent

   jurisdiction over Plaintiff's state law claims arising under the laws of Florida.

                                               PARTIES

       3. DEOTHA WOODBURN (hereinafter "WOODBURN"), is the aunt, former foster parent,

   and current legal Guardian of SOUNG LANAZA.

       4. Plaintiff, SOUNG LANAZA (sometimes referred to hereafter as "the child"), was born

   on February 9, 1994.

       5. SOUNG LANAZA was a dependent child with developmental disabilities in the legal

   custody of the Defendant, STATE OF FLORIDA DEPARTMENT OF CHILDREN AND

   FAMILY SERVICES (hereinafter "DEPARTMENT") and was dually qualified to receive Social

   Security disability benefits.

       6. Due to SOUNG LANAZA's status as a minor child, this action is filed through her

   attorney ad litem and next friend the University of Miami School of Law Children and Youth

   Law Clinic.

       7. SOUNG LANAZA is disabled within the meaning of all legal authorities cited herein due

   to having: mild mental retardation, cerebral palsy, seizure disorder, Congenital Hydrocephaly,

   mood and behavior disorders, and an inability to walk without assistance devices.

       8. In addition, she was born cocaine exposed and has always been a child with multiple

   special needs and developmental disabilities.

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       9. Defendant, the DEPARTMENT, is the Florida state agency charged under state and

   federal law with the non-delegable duty to ensure the health, welfare, and safety of children in

   state custody; operating the state foster care system; and providing all necessary services for

   children placed in its care.

       10. At all times material hereto, the DEPARTMENT was responsible to ensure that foster

   care board rate payments were paid for SOUNG LANAZA while she was in the custody of the

   DEPARTMENT.

       11. Under state law, the DEPARTMENT contracts with private community based agencies to

   provide foster care and protective service to children in state custody.

       12. Defendant, ESTATE OF OLGA ROJAS (hereinafter "ROJAS"), was at all relevant

   times, employed by the DEPARTMENT as a Family Services Counselor, and was assigned to

   the Plaintiff s case.

       13. At all material times, ROJAS was obligated to comply with all state and federal laws and

   regulations as well as DEPARTMENT procedures regarding children in state care.

       14. As a family services counselor, ROJAS had authority and responsibility:

            a.     To ensure the health, safety and well-being of the child in state custody;

            b.     To conduct monthly home visits to assess the health, safety, and well-being of the

   child when she was in a foster home;

            c.     To conduct weekly visits to the child while she was in shelter care;

            -d.    To ensure that the child was not left in dangerous conditions and was not subject

   to neglect or abuse;

            e.     To maintain all health records and to inform the caregiver of available services to

   address any medical needs for the child;



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            f.    To know and understand the full extent of the child's medical and therapeutic

   needs;

            g.     To monitor the child's medication at all times;

            h.     To ensure that while SOUNG LANAZA was in state custody, with developmental

   disabilities, her special needs were addressed so that her condition would not deteriorate;

            i.     To apply for social security, Medicaid waiver, and/or other governmental benefits

   for which the child was eligible;

            J.     To ensure that did child does not remain in a temporary shelter for more than

   thirty days;

            k.     To identify relatives willing and able to care for the child;

            1.     To timely request a home study through the Interstate Compact for the Placement

   of Children (hereinafter "ICPC") to expedite the placement of the child with relatives who

   resided out of the state;

            m.     To ensure that an active case plan that met her disability needs remained in effect

   so long as the child is under the protective supervision of the DEPARTMENT;

            n.     To ensure that the child received all necessary medical, psychological, therapeutic

   and developmental services;

            o.     To move a child towards permanency within twelve months of her removal from

   the home and placement in foster care;

            p.     To conduct diligent search on parents whose whereabouts are unknown;

            q.     To provide services to the parents, child, and caregivers;

            r.     To move towards termination of parental rights when the parents were

   noncompliant with case plan tasks;



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              s.   To conduct all tasks required to prepare a child and potential adoptive parents for

   the adoption process within the required permanency timeframe.

       15. Defendant ROJAS is being sued based upon acts that were in her individual capacity.

       16. Defendant OUR KIDS, INC. (hereinafter "OUR KIDS"), is a corporation organized and

   existing under the laws of Florida, and operates its business primarily in Miami-Dade County,

   Florida.

       17. OUR KIDS is the lead agency for coordination and delivery of community-based foster

   care and related services in Miami-Dade County, Florida, pursuant to § 409.1671, Florida

   Statutes, and operated under a contract with the DEPARTMENT to provide such services to

   children in the custody of the DEPARTMENT, including Plaintiff.

       18. Defendant, FRANCES ALLEGRA (hereinafter "ALLEGRA"), has been employed by

   OUR KIDS since its inception in the capacity of Vice President, Chief Operating Officer, and is

   now the Executive Director.

       19. As Vice President, Chief Operating Officer, and Executive Director, ALLEGRA, had

   authority and responsibility:

          a.       To ensure that OUR KIDS upheld its responsibility to ensure the safety of each

   child in its custody and care.

          b.       To oversee the structure of the lead community based care provider for child

   welfare services in Miami-Dade County;

          c.       To oversee the delivery and quality of case management         In   Miami-Dade to

   children in the State's custody;




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          d.      To ensure that subcontractors providing case management services to children in

   state custody were in compliance with Florida Statutes, Florida Administrative Code, and the

   DEPARTMENT's policies and procedures;

          e.      To ensure that overall, children in foster care and under protective supervision

   achieved the best permanency option within the timeframe required by the Florida Statutes;

          f.      To ensure that policies and procedures of OUR KIDS addressed the duty of case

   managers and supervisors to provide appropriate and necessary services to children with

   developmental disabilities who are in the care and custody of the state;

          g.      To ensure that children with developmental disabilities in state custody, such as

   SOUNG LANAZA, did in fact receive the required services and benefits to address their health,

   safety, and development;

          h.      To ensure that the best interest of the children in care took priority over the

   financial interests of the corporation;

          1.      To oversee the budget, salaries, and bonuses of the Our Kids management team.

          J.      To run the daily operations of OUR KIDS including ensuring that when she

   became aware of specific cases of foster children who were in need of assessment, services and

   permanency, that such services were met and they were not permitted to deteriorate in care.

          k.      To ensure that OUR KIDS implemented its contractual responsibilities in

   accordance with state and federal law

          1.      To ensure that OUR KIDS protected the constitutional rights of children who

   were in its care and custody; in this regard, ALLEGRA knew that those children had the right to

   be safe, to achieve permanency, to receive an adequate education, to receive necessary treatment

   and services, and to be screened for and receive services for developmental disabilities.



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      20. Defendant, ALLEGRA, is being sued in her individual capacity.

      21. Defendant, ONE HOPE UNITED, INC. (hereinafter "ONE HOPE"), fonnerly known as

   KIDS HOPE UNITED, INC., is a corporation organized and existing under the laws of the State

   of Florida, and operating its business in Miami-Dade County, Florida.

      22. Pursuant to state law, OUR KIDS, as the lead agency, was authorized to and did

   subcontract with ONE HOPE to provide case management services to children in foster care and

   under protective supervision, including Plaintiff; notwithstanding that subcontract, OUR KIDS

   retained ultimate responsibility to ensure that Plaintiffs needs were met by establishing and

   using the means necessary to confinn and ensure that ONE HOPE did, in fact, meet Plaintiffs

   needs.

      23. Defendant, NAKEITHA SWEETING HODRICK (hereinafter "HODRICK"), was the

   Vice President and Director of ONE HOPE at all material times.

      24. As Vice President and Director, HODRICK, had authority and responsibility:

            a.   To oversee the structure of ONE HOPE in providing child welfare services to

   children in state custody in Miami-Dade County;

            b.   To oversee the delivery and quality of case management to children in the State's

   custody;

            c.   To ensure that agents providing case management services to children in state

   custody were in compliance with Florida Statutes, Florida Administrative Code, and the

   DEPARTMENT's policies and procedures;

            d.    To ensure that overall, children in foster care and under protective supervision

   achieved the best pennanency option within the timeframe required by the Florida Statutes;




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            e.    To ensure that policies and procedures of ONE HOPE addressed the duty of case

   managers and supervisors to provide appropriate and necessary services and benefits to ensure

   the safety of children with developmental disabilities who are in the care and custody of the

   state;

            f.    To ensure that children with developmental disabilities in state custody, such as

   SOUNG LANAZA, did in fact receive the required services and benefits to address their health,

   safety, and development;

            g.    To ensure that the best interest of the children in care took priority over the

   financial interests of KIDS HOPE and OUR KIDS;

       25. Defendant, HOD RICK, is being sued in her individual capacity.

                                    GENERAL ALLEGATIONS

                                       THE FIRST FIVE YEARS

       26. Shortly after her birth in February 1994, SOUNG LANAZA was removed by the State of

   Florida from her biological mother's care after a medical determination that she had been

   exposed before birth to illegal substances that are damaging to fetal development.

       27. On or about February 23, 1994, a ventriculo-peritoneal shunt was implanted in the child

   to treat her hydrocephaly; however, it became infected shortly thereafter and needed to be

   removed and replaced after twenty one days of antibiotics.

       28. On or around August 31, 1994, pursuant to Chapter 39 of the Florida Statutes, SOUNG

   LANAZA was adjudicated dependent and placed in the legal custody of the DEPARTMENT.

       29. On or about September 30, 1994, SOUNG LANAZA was ready to be discharged from

   the hospital; however, the DEPARTMENT failed to find a home for her for at least one to two

   weeks until she was placed in a shelter.


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       30. On or about December 7, 1994, the DEPARTMENT was put on notice that Plaintiff's

   aunt, and licensed foster parent in New York, DEOTHA WOODBURN, was interested in taking

   custody of the child and was an appropriate placement.

       31. For the first year of her life, during which time a fully nurturing home environment is

   crucial to a child's health, development, and attachment, the DEPARTMENT left SOUNG

   LANAZA in a shelter environment that was designed only to be a thirty day temporary

   placement until a foster home could be located.

       32.9n or about July 25, 1995, agents of the DEPARTMENT documented that

   WOODBURN was making regular contact with the DEPARTMENT showing concern for the

   child and expressing a desire to care for her.

       33. In 1995, the Plaintiff was finally removed from the temporary shelter, but despite the

   availability of WOODBURN and another relative willing and able to care for her, she was placed

   in the group home of a non-relative, Delcita Bartley.

       34. Ms. Bartley was paid a monthly foster care board rate of over $2,200.00 throughout

   Plaintiff's stay there until 1999.

       35. Between 1994 and 1999, notwithstanding state law requirements and best practices that

   the DEFENDANTS give adult relatives priority consideration and ultimately place the child with

   available relatives, and despite the actual availability of WOODBURN to care for the child, the

   DEFENDANTS kept SOUNG LANAZA the group home in non-relative f,?ster care.

       36. On or about October 5, 1997, while SOUNG LANAZA was in the Bartley Group Home

   and in the DEPARTMENT's care, she fell out of her wheelchair and was injured. The

   circumstances regarding the fall were a clear warning that her needs were not being met.




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       37. On or about January 6, 1998, an independent Citizen Review Panel pursuant to Florida

   Statute section 39.702 documented that the DEPARTMENT had failed to move the case forward

   timely, that the DEPARTMENT failed to ensure that a case plan was in effect when the previous

   case plan had been expired for at least six months, that the DEPARTMENT delayed the

    Interstate Compact needed to place SOUNG LANAZA with relatives, that the DEFENDANTS

   failed to apply for the child's social security benefits, and that the DEPARTMENT had a

   complete lack of knowledge of the child's medication.

       38. It was not until March 1998, approximately four years after SOUNG LANAZA's

   placement in foster care, that the DEPARTMENT delinquently initiated an Interstate Compact

    for the Placement of Children (hereinafter "ICPC") to finally place SOUNG LANAZA with her

   relative, WOODBURN in New York.

       39. On or about April 8, 1998, case notes confirmed the DEPARTMENT had still failed to

   ensure that SOUNG LANAZA received necessary developmental services, including toilet

    training, and even diapers in the Delcita Bartley group home; this was further warning that the

   placement was not meeting her needs.

       40. On March 3, 1998, pursuant to the ICPC requirement that a state sending a child for

    placement in another state must assure the receiving state that the child will receive the financial

    support required to meet her needs, the DEPARTMENT represented to New York state child

    welfare authorities, in writing, that WOODBURN would receive the foster care board rate

   benefits in addition to the Plaintiffs Social Security disability benefits.

       41. The DEPARTMENT likewise led WOODBURN to believe that she would receive the

    foster care board rate equal to that of the prior foster parent, over $2,200.00, to provide for

    SOUNG LANAZA's special needs.



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      42. In addition, the DEPARTMENT admitted to WOODBURN that the health, safety, and

   well being of SOUNG LANAZA had not been met in the Delcita Bartley group home.

      43. On or about January 19, 1999, SOUNG LANAZA fell again in the Bartley group home

   and had to be taken to the hospital for stitches in her forehead; this was yet another warning that

   her needs were not being met in that home.

      44. In or about July 1999, in reliance on the DEPARTMENT's assurance of that financial

   support to both New York and WOODBURN, New York agreed to place SOUNG LANAZA

   WOODBURN.

      45. Pursuant to the ICPC, SOUNG LANAZA remained a ward of Florida under the courtesy

   supervision of New York's child protection system.

      46. Upon the child's arrival in New York, WOODBURN discovered that Defendants had

   allowed her niece to deteriorate, failed to properly care for her, and allowed her to be abused, in

   that: she suffered from a scalp fungus comparable to ring worm; was wheelchair bound and

   unable to stand; was mobile only by means of a "bunny hop;" suffered from blackened skin,

   scrapes, and bruises on both knees and her toes as a result of being on all fours; was terrified of

   bathing, therefore violently refusing to do so; despite being 4 years old, had not been toilet

   trained and frequently defecated on herself; was unable to communicate verbally, not even on a

   basic toddler level; and regularly exhibited severe aggressive and angry behavior for which no

   comprehensive behavioral intervention program had been implemented.

                             FAILURE TO ACHIEVE PERMANENCY

      47. The DEFENDANTS owed SOUNG LANAZA a duty to meet her custodial, medical,

   development, and emotional needs and to provide the best possible legal permanency status for

   lifelong purposes, which in this case was adoption by WOODBURN.



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       48. Pursuant to Florida Statute § 39.001(1)(h) (2000), Florida Statute § 39.45(2) (1994), and

   consistent with the federal Adoption and Safe Families Act, DEFENDANTS had a duty to meet

   SOUNG LANAZA's need for a permanent placement with a biological or adoptive family, a

   duty to provide the necessary support to secure that placement, and a duty to ensure that she did

   not remain in foster care for more than one year.

       49. Notwithstanding the state and federal law requirement for permanency within one year,

   the DEPARTMENT failed to timely terminate parental rights and facilitate an adoption to ensure

   that SOUNG LANAZA reached permanency within one year; instead the DEPARTMENT

   waited four years to even make the child available for adoption. .

       50. It was not until September 16, 1999, more than four years after the removal of the child,

   that the DEPARTMENT took the first step towards permanency by securing termination of the

   mother's parental rights.

       51. On November 16, 1999 the DEPARTMENT finally obtained termination of the father's

   rights, making SOUNG LANAZA available for adoption.

       52. Between 1999 and 2002, pursuant to the promise made by the DEPARTMENT through

   the Interstate Compact for the Placement of Children to financially support the needs of the

   child, Plaintiffs aunt, DEOTHA WOODBURN, received the promised financial support to care

   for the child for her first three years of placement.

       53. In February 2002, motivated by its own financial interests, the DEPARTMENT sought

   and obtained an Order from the Florida Dependency Court to terminate court supervision of the

   Defendants' handling of SOUNG LANAZA'S case and instead of adoption, finalized a

   permanency goal of Long Term Relative Care (notably, there was no guardian ad litem to

    advocate for Plaintiffs best interests).



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       54. Though WOODBURN expressed a desire to adopt SOUNG LANAZA since she was

   born, DEFENDANTS failed to ensure that an adoption took place, thereby depriving SOUNG

   LANAZA of a forever family which was in her best interest and for which she was entitled by

   state and federal law and making her a ward of the state.

     WOODBURN'S FINANCIAL SUPPORT WAS DECREASED BY THIRTY PERCENT

       55. In July 2002, shortly after terminating supervision, the DEPARTMENT applied, without

   obtaining Dependency Court approval or oversight, to become the representative payee for

   SOUNG LANAZA's social security benefits and in turn did receive those monies and applied

   the SSI to its exclusive institutional benefit.

       56. This change in SOUNG LANAZA's Representative Payee decreased the monies that

   could have been directed to WOODBURN to meet Plaintiff's needs by at least 30 percent and in

   contravention of the original promise to deliver all of the available funding streams to her which

   was made to induce WOODBURN into becoming Plaintiff's caregiver.

    SOUNG LANAZA'S CONDITION DETERIORATES AS A RESULT OF FAILURE TO
                 PROVIDE NECESSARY, AVAILABLE SERVICES

       57. On June 5, 2004, because DEFENDANTS failed to inform WOODBURN that SOUNG

   LANAZA's Ventriculo-Peritoneal Shunt, necessary to drain the fluid from her brain, must be

   replaced as she grows; there was need for emergency surgery to correct a very painful and

   dangerous VP Shunt malfunction/fracture in her neck.

       58. The DEPARTMENT, OUR KIDS, ONE HOPE, and ROJAS failed to provide

   WOODBURN with the child's medical history such as allergies to medications, birth records,

   and the medical history of the parents which was critical information required when SOUNG

   LANAZA was hospitalized.




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      59. In addition, because DEFENDANTS failed to secure Medicaid Waiver benefits and

   neglected the child's medical and developmental needs, when SOUNG LANAZA's condition

   deteriorated, there were no in-home nursing supports available, and at one point, WOODBURN

   was required to carry Plaintiff up and down the stairs while the child was in a wheelchair

   because she was not mobile.

      60. DEFENDANTS failed to identify service providers and the child's needs, therefore,

   WOODBURN had to herself explore medical option to address the child's deformed legs that

   were preventing her ability to walk.

      61. In May 2005, OUR KIDS reviewed SOUNG LANAZA's case file as part of the

   transition to community based care and found serious deficiencies in the case's handling.

      62. In 2007, because she had been neglected and abused while in the care of the

   DEFENDANTS, SOUNG LANAZA had to undergo multiple surgeries to straighten both of her

   legs including bilateral tendo Achilles lengthening, bilateral .hamstring releases, and bilateral hip

   abductor releases and transfers to improve her ability to ambulate and function.

      63. During the years following placement, WOODBURN provided care as best she could for

   her niece within her limited resources, while continuing to ask the DEFENDANTS for the

   financial assistance she needed to adequately care for SOUNG LANAZA's multiple disabilities.

                        OUR KIDS BECOMES REPRESENTATIVE PAYEE

      64. On January 23, 2008, after the privatization of child protective services in Miami-Dade

   County, OUR KIDS submitted its application to the Social Security Administration (SSA) to

   replace the DEPARTMENT as SOUNG LANAZA's Representative Payee and was awarded that

   status by the SSA.




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      65. In order to advance its financial interests, OUR KIDS misrepresented on the SSA

   application that Plaintiff did not live with relatives or have relatives who had an interest in being

   SOUNG LANAZA's representative payee, but in doing so, perpetuated the 30 percent loss of

   fmancial assistance for WOODBURN to meet Plaintiff's needs.

       DEFENDANTS CONTINUED TO FAIL TO PROVIDE NECESSARY SERVICES

      66. Throughout SOUNG LANAZA'S placement with WOODBURN, DEFENDANTS failed

   in their ongoing duty to offer or provide WOODBURN any support services in her home to

   secure SOUNG LANAZA's placement and to ensure her prosperity.

      67. To meet her needs, DEFENDANTS had the duty to make Plaintiff eligible to benefit

   from all programs for which she was eligible and, pursuant to Florida Administrative Rule 65C-

   16.013, to pay an enhanced adoption subsidy for SOUNG LANAZA as a child with physical,

   mental, emotional, and/or behavioral problems which require care, supervision, and structure

   beyond that ordinarily provided in a family setting.

      68. Throughout the sixteen years that Plaintiff remained in foster care status and in the legal

   custody of the DEPARTMENT, the DEFENDANTS failed to ensure that this child with highly

   complex disabilities received Medicaid Waiver benefits which would have assisted her in

   obtaining the services she needed at home and up to approximately $70,000 per year                In


   additional benefits to ensure her health, safety, well-being, and development.

      69. Under Medicaid Waiver, SOUNG LANAZA would have received benefits to which she

   was entitled to provide for her specialized and extensive care needs in her day to day living

   including habilitation services, respite care, service coordination, adaptive technologies, one on

   one supervision at home, transportation assistance, recreational activities, etc.




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      70. In violation of federal and state law and best practices, the DEPARTMENT, OUR KIDS,

   ONE HOPE, and ROJAS failed to involve WOODBURN in the case planning process which is

   intended to ensure that (a) the caregiver and the case manager understand the full scope of

   services needed for a child like the Plaintiff; (b) the caregiver understands her role and tasks in

   achieving permanency and best interests; (c) the caregiver understands the permanency options

   and decisions which needed to be made within the state and federal time limits; and (d) to ensure

   that SOUNG LANAZA did not remain in foster as a legal orphan when not in her best interests.

        TERMINATING SUPERVISION, CUTTING BENEFITS AND NO ADOPTION

      71. The DEFENDANTS acted to maximize their financial interests in seizing Plaintiffs

   Social Security disability benefits, thus minimizing Plaintiffs available revenue and rendering

   her a legal orphan.

      72. Only in March 2010, when the New York Social Security Administration office

   responded to an inquiry by WOODBURN for relief by requesting a court order clarifying

   SOUNG LANAZA's custodial status relative to the DEPARTMENT and therefore right to

   receive Plaintiffs Social Security benefits as her designated Representative Payee, did the

   DEFENDANTS' misdeeds begin to unravel.

      73. Thereafter, the DEFENDANTS failed to provide the custody order, thus prompting the

   Social Security Administration to designate WOODBURN as the Representative Payee in place

   of OUR KIDS for SOUNG LANAZA's Social Security benefits.

      74. On April 7, 2010, when DEFENDANTS could no longer achieve a financial benefit, they

   acted to cause WOODBURN to become Plaintiffs permanent guardian, terminated any

   protective supervision, ended all foster care benefits, abandoned Plaintiff without any financial




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   assistance, relinquished jurisdiction to the State of New York and left Plaintiff without any

   adoptive parents after 16 years even though they had tenninated Plaintiff s parental rights.

       75. As a result of these actions, Plaintiff was further hanned in that WOODBURN could now

   only receive SOUNG LANAZA's Social Security benefits to assist in meeting Plaintiff's

   extensive special needs and developmental disabilities; this resulted in an approximate 60

   percent reduction in funds available to meet the Plaintiff's needs compared with what the

   Defendants promised would be delivered in 1999 to the New York authorities and to

   WOODBURN.

      COUNT 1- NEGLIGENCE CLAIM AGAINST DEFENDANT, OUR -KIDS,
                               INC.

           76.     Plaintiff reavers and realleges paragraphs 1-8; 16-20; 22; 26-29; 32-35; 40-41; 45-

   48; 53-54; 57-75 as if fully set forth herein.

           77.     OUR KIDS, through its agents and/or employees, owed Plaintiff the following

   non-delegable duties:

       a. To provide continuity of care for SOUNG LANAZA from her entry into foster care until

   her exit pursuant to Florida Statute § 409.l671(1)(e)(2);

       b. To be accountable for meeting the outcomes and perfonnance standards relating to the

   child protective services provided to SOUNG LANAZA pursuant to Florida Statute §

   409.1671 (1 )(e)(4);

       c. To use reasonable care in the supervision and oversight of SOUNG LANAZA to ensure

   her health, welfare, and safety needs were met, including as expressly contemplated, affinned

    and delineated in Chapter 39 of the Florida Statutes, the Florida Administrative Code and other

    written policies and procedures issued by the DEPARTMENT and OUR KIDS;



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       d. To ensure SOUNG LANAZA's individual dignity, liberty, pursuit of happiness, and the

   protection of her federally guaranteed civil and other legal rights pursuant to Florida Statute §

   39.4085(2);

       e. To ensure that personnel providing services to SOUNG LANAZA be sufficiently

   qualified, experienced and diligent to meet her needs while she was in State custody pursuant to

   Florida Statute § 39.4085(4);

       f.   To ensure that SOUNG LANAZA received meaningful case management and planning

   that would have returned her to a rehabilitated family of origin or moved her to another

   permanency result timely, at the very least within the time frames required by federal and state

   law pursuant to Florida Statute §§ 39.4085(13); 39.001(1)(h) (2010); 39.45(2) (1994);

       g. To ensure that SOUNG LANAZA was in a safe permanent home within twelve months

   of foster care placement or eighteen months of removal pursuant to Florida Statute §§

   39.001(1)(h) (2010); 39.45(2) (1994);

       h. To ensure that a valid and effective case plan was in effect at all times while the child is

   in care pursuant to Florida Statute § 39.6011 (1) and Florida Administrative Code lOM-6.131(9);

       i.   To facilitate the foster parent's participation in case planning and service delivery

   pursuant to Florida Statute § 39.6011;

       j.   To act as an advocate for the child in terms of obtaining needed services pursuant to

    Florida Administrative Code 1OM-6.131 (17);

       k. To ensure that SOUNG LANAZA was afforded prompt access to all available state and

    federal programs that were created specifically for persons with her disabilities and status as a

    dependent child, including, but not limited to Early Periodic Screening, Diagnosis, and Testing




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   (EPSDT) Services, developmental servIces programs, Medicare and supplemental security

   income, Children's Medical Services pursuant to Florida Statute § 39.4085(23);

       1.   To initiate appropriate action to involve other departmental and community programs that

   provide services that the child may need pursuant to Florida Administrative Rule 10M-6.131 and

   Florida Statute §§ 20.19(1)(c); 39.001; 409.1671;

       m. To ensure that SOUNG LANAZA received a full risk, health, educational, medical, and

   psychological screening, and assessment and testing upon adjudication into foster care pursuant

   to Florida Statute § 39.4085(6);

       n. To ensure SOUNG LANAZA's safety by providing ' necessary medical, emotional,

   psychological, psychiatric, and educational evaluations and treatment, as soon as practicable

   after identification of the need for such services by the screening and assessment process

   pursuant to Florida Statute § 39.4085(6);

       o. To ensure SOUNG LANAZA's safety, health, and well being by addressing her

   developmental disabilities while she was in the care and custody of the State Florida pursuant to

   Florida Administrative Code 65C-28.004 and Florida Statute § 393.13;

       p. To ensure that SOUNG LANAZA received all Medicaid Waiver benefits to which she

   was entitled while she was in the care and custody of the State pursuant to Flori.da

   Administrative Code 65C-28.004 and Florida Statute § 393.13;

       q. To ensure that SOUNG LANAZA's caregiver received adequate financial support and

    services to secure the health and safety of SOUNG LANAZA and to address her special needs as

    they relate to her developmental disabilities pursuant to Florida Administrative Code 65C-28.004

   and Florida Statute § 393.13;




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      r.   To identify developmental delays or conditions and obtain any documentation to support

   the need for developmental services and ensure that an application for developmental services is

   submitted once SOUNG LANAZA'S needs were detennined pursuant to Florida Administrative

   Code 65C-28.004;

      s. To explore timely and as a priority for placement, all available options for SOUNG

   LANAZA with available relatives who were willing and able to care for her and ultimately adopt

   her pursuant to Florida Statute § 39.401(4); 39.4085; and CFOP 175-88;

      t.   To prepare the caregiver, prior to the placement of SOUNG LANAZA with her, as to

   how to meet her many and varied special needs pursuant to Florida Administrative Code 65C-

   28.005;

      u. To provide the necessary support to strengthen and maintain the child's placement over

   time pursuant to Florida Administrative Code 65C-28.005;

      v. To infonn and educate the caregiver about available programs that may provide financial

   and medical assistance for the child pursuant to Florida Administrative Code 65C-28.005;

      w. To provide the caregiver with infonnation regarding the dependency process and support

   services available in the community pursuant to Florida Administrative Code 65C-28.005;

      x. To infonn the caregiver of all identified needs of the child and the need to provide

   services for those needs pursuant to Florida Administrative Code 65C-28.005;

      y. To ensure that significant events in the child's life are recorded in a fonnat that can be

   used by subsequent caregivers and professionals pursuant to Florida Administrative Code 10M-

   6.131(10);




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       z. To maintain, review, and provide the foster parent with a Child Resource Record with a

   complete record of the child's health records pursuant to Florida Administrative Code 65C-

   28.005 and Florida Administrative Code 10M-6.131(10);

       aa. Notwithstanding her disabilities, to assess and provide for pre-independent living services

   for SOUNG LANAZA upon turning thirteen years of age and independent living services upon

   turning fifteen years of age pursuant to Florida Administrative Code 65C-28.009(7)(d);

       bb. To ensure that the child and relatives are not likely to need supervision or services from

   OUR KIDS to ensure the stability of the permanent guardianship when the recommendation is

   made to terminate supervision with a goal of permanent guardianship pursuant to Florida Statute

    § 39.6221 and Florida Administrative Code 65C-30.012.

             78.   OUR KIDS, through its agents and/or employees, breached said non-

   discretionary, non-delegable duties.

             79.   As a direct and proximate result of the aforementioned breach, Plaintiff SOUNG

   LANAZA was damaged by not receiving adequate care and services to address her

   developmental disabilities while in the care and custody of the state; by remaining in foster care

   for the majority of her minor life; and by suffering and continuing to suffer deterioration in her

   health. These losses are either permanent or continuing in nature and Plaintiff will suffer such

   losses in the future.

             WHEREFORE, Plaintiff, SOUNG LANAZA demands judgment against Defendant OUR

   KIDS, for compensatory damages, costs, and all other such relief as the Court may deem just and

   proper.




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          COUNT 11- NEGLIGENCE CLAIM AGAINST DEFENDANT, ONE
                           HOPE UNITED, INC . .

           80.     Plaintiffreavers and realleges paragraphs 1-8; 21-28; 32-35; 44-48; 53-54; 57-60;

   62; 66-75 as if fully set forth herein.

           81.     ONE HOPE, through its agents and/or employees, owed Plaintiff the following

   non-delegable duties:

       a. To use reasonable care in the supervision and oversight of SOUNG LANAZA to ensure

   her health, welfare, and safety needs were met, including as expressly contemplated, affirmed

   and delineated in Chapter 39 of the Florida Statutes, the Florida Administrative Code and other

   written policies and procedures issued by the DEP ARTMENT,OUR KIDS, and ONE HOPE;

       b. To ensure SOUNG LANAZA's individual dignity, liberty, pursuit of happiness, and the

   protection of her federally guaranteed civil and other legal rights pursuant to Florida Statute §

   39.4085(2);

       c. To ensure that personnel providing servlces to SOUNG LANAZA be sufficiently

   qualified, experienced and diligent to meet her needs while she was in State custody pursuant to

   Florida Statute § 39.4085(4);

       d. To ensure that SOUNG LANAZA received meaningful case management and planning

   that would have returned her to a rehabilitated family of origin or moved her to another

   permanency result timely, at the very least within the time frames required by federal and state

   law pursuant to Florida Statute §§ 39.4085(13); 39.001(1)(h) (2010); 39.45(2) (1994);

       e. To ensure that SOUNG LANAZA was in a safe permanent home within twelve months

   of foster care placement or eighteen months of removal pursuant to Florida Statute §§

    39.001(1)(h) (2010); 39.45(2) (1994);



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      f.   To ensure that a valid and effective case plan was in effect at all times while the child is

   in care pursuant to Florida Statute § 39.6011(1) and Florida Administrative Code lOM-6.131(9);

      g. To facilitate the foster parent's participation in case planning and service delivery

   pursuant to Florida Statute § 39.6011;

      h. To act as an advocate for the child in terms of obtaining needed services pursuant to

   Florida Administrative Code 10M-6.131(17);

      i.   To ensure that SOUNG LANAZA was afforded prompt access to all available state and

   federal programs that were created specifically for persons with her disabilities and status as a

   dependent child, including, but not limited to Early Periodic Screening, Diagnosis, and Testing

   (EPSDT) Services, developmental services programs, Medicare and supplemental security

   income, Children's Medical Services pursuant to Florida Statute § 39.4085(23);

      j.   To initiate appropriate action to involve other departmental and community programs that

   provide services that the child may need pursuant to Florida Administrative Rule 10M-6.131 and

   Florida Statute §§ 20.l9(1)(c); 39.001; 409.1671;

      k. To ensure that SOUNG LANAZA received a full risk, health, educational, medical, and

   psychological screening, and assessment and testing upon adjudication into foster care pursuant

   to Florida Statute § 39.4085(6);

      1.   To ensure SOUNG LANAZA's safety by providing necessary medical, emotional,

   psychological, psychiatric, and educational evaluations and treatment, as soon as practicable

   after identification of the need for such services by the screening and assessment process

   pursuant to Florida Statute § 39.4085(6);




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       m. To ensure SOUNG LANAZA's safety, health, and well being by addressing her

   developmental disabilities while she was in the care and custody of the State Florida pursuant to

   Florida Administrative Code 65C-28.004 and Florida Statute § 393.13;

       n. To ensure that SOUNG LANAZA received all Medicaid Waiver benefits to which she

   was entitled while she was in the care and custody of the State Florida Administrative Code 65C-

   28.004 and Florida Statute § 393.13;

       o. To ensure that SOUNG LANAZA's caregiver received adequate financial support and

   services to secure the health and safety of SOUNG LANAZA and to address her special needs as

   they relate to her developmental disabilities pursuant to Florida Administrative Code 65C-28.004

    and Florida Statute § 393.13;

       p. To identify developmental delays or conditions and obtain any documentation to support

    the need for developmental services and ensure that an application for developmental services is

    submitted once SOUNG LANAZA'S needs were determined pursuant to Florida Administrative

    Code 65C-28.004;

       q. To explore timely and as a priority for placement, all available options for SOUNG

    LANAZA with available relatives who were willing and able to care for her and ultimately adopt

    her pursuant to Florida Statute § 39.401(4); 39.4085; and CFOP 175-88;

       r.   To prepare the caregiver, prior to the placement of SOUNG LANAZA with her, as to

    how to meet her many and varied special needs pursuant to Florida Administrative Code 65C-

    28.005;

       s. To provide the necessary support to strengthen and maintain the child's placement over

    time pursuant to Florida Administrative Code 65C-28.005;




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       t.   To inform and educate the caregiver about available programs that may provide financial

   and medical assistance for the child pursuant to Florida Administrative Code 65C-28.005;

       u. To provide the caregiver with information regarding the dependency process and support

   services available in the community pursuant to Florida Administrative Code 65C-28.005;

       v. To inform the caregiver of all identified needs of the child and the need to provide

   services for those needs pursuant to Florida Administrative Code 65C-28.005;

       w. To ensure that significant events in the child's life are recorded in a format that can be

   used by subsequent caregivers and professionals pursuant to Florida Administrative Code 10M-

   6.131(10);

       x. To maintain, review, and provide the foster parent with a Child Resource Record with a

   complete record of the child's health records pursuant to Florida Administrative Code 65C-

   28.005 and Florida Administrative Code 1OM-6.131 (1 0);

       y. Notwithstanding her disabilities, to assess and provide for pre-independent living services

   for SOUNG LANAZA upon turning thirteen years of age and independent living services upon

   turning fifteen years of age pursuant to Florida Administrative Code 65C-28.009(7)(d);

       z. To ensure that the child and relatives are not likely to need supervision or services of

   ONE HOPE to ensure the stability of the permanent guardianship when the recommendation is

   made to terminate supervision with a goal of permanent guardianship pursuant to Florida Statute

    § 39.6221 and Florida Administrative Code 65C-30.012.

            82.    ONE HOPE, through its agents and/or employees, breached said non-

    discretionary, non-delegable duties.

            83.    As a direct and proximate result of the aforementioned breach, Plaintiff SOUNG

    LANAZA was damaged by not receiving adequate care and services to address her



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   developmental disabilities while in the care and custody of the State; by remaining in foster care

   for the majority of her minor life; and by suffering and continuing to suffer deterioration in her

   health. These losses are either permanent or continuing in nature and Plaintiff will suffer such

   losses in the future.

           WHEREFORE, Plaintiff, SOUNG LANAZA demands judgment against Defendant,

   ONE HOPE, for compensatory damages, costs, and all other such relief as the Court may deem

   just and proper.

         COUNT III - § 393.13 CLAIM AGAINST DEFENDANT, OUR KIDS,
                                     INC.

           84.      Plaintiff reavers and realleges paragraphs 1-8; 16-20; 22; 26-29; 32-35; 40-41; 45-

   48; 53-54; 57-75 as if fully set forth herein.

           85.      While SOUNG LANAZA was in State custody and under the supervision of OUR

   KIDS, her rights under the Bill of Rights of Persons who are Developmentally Disabled §

   393.13, Florida Statutes, include, but are not limited to:

                 a. The right to receive prompt and appropriate medical treatment and care for

                    physical and mental ailments and for the prevention of any illness or disability

                    pursuant to Florida Statute § 393.13(4)(c);

                 b. The right to be free from harm, abuse and neglect pursuant to Florida Statute §

                    393.13(3)(a) and (g);

                 c. The right to receive services, within available sources, which protect her personal

                    liberty pursuant to Florida Statute § 393.13(3)(c);

                 d. The right to receive prompt and appropriate medical treatment and care for

                    physical and mental ailments and for the prevention of any illness or disability

                    pursuant to Florida Statute § 393. 13 (4)(c).

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           86.      OUR KIDS had a duty to ensure that SOUNG LANAZA's rights under §393.13,

   Florida Statutes were not violated.

           87.      OUR KIDS breached said duty, and as a direct and proximate result of the

   aforementioned breach, Plaintiff SOUNG LANAZA did not receive adequate care and services

   to address her developmental disabilities while in the care and custody of the state, remained in

   foster care for the majority of her minor life, and suffered and will continue to suffer

   deterioration in her health. The losses are either permanent or continuing in nature and Plaintiff

   will suffer such losses in the future.

           WHEREFORE, Plaintiff, SOUNG LANAZA demands judgment against Defendant OUR

    KIDS, INC., for compensatory damages, costs, and all other such relief as the Court may deem

   just and proper.

           COUNT IV- § 393.13 CLAIM AGAINST DEFENDANT, ONE HOPE
                                  UNITED, INC.

           88.      Plaintiffreavers and realleges paragraphs 1-8; 21-28; 32-35; 44-48; 53-54; 57-60;

    62; 66-75 as if fully set forth herein. .

           89.      While SOUNG LANAZA was in State custody and under the supervision of ONE

    HOPE, her rights under the Bill of Rights of Persons who are Developmentally Disabled §

    393.13, Florida Statutes, include, but are not limited to:

                 a. The right to receive prompt and appropriate medical treatment and care for

                    physical and mental ailments and for the prevention of any illness or disability

                    pursuant to Florida Statute § 393.13(4)(c);

                 b. The right to be free from harm, abuse and neglect pursuant to Florida Statute §

                    393. 13 (3)(a) and (g);



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                  c. The right to receive services, within available sources, which protect her personal

                     liberty pursuant to Florida Statute § 393.13(3)(c)

                  d. The right to receive prompt and appropriate medical treatment and care for

                     physical and mental ailments and for the prevention of any illness or disability

                     pursuant to Florida Statute § 393.13(4)(c).

           90.       ONE HOPE had a duty to ensure that SOUNG LANAZA's rights under §393.13,

   Florida Statutes were not violated.

           91.       ONE HOPE breached said duty, and as a direct and proximate result of the

    aforementioned breach, Plaintiff SOUNG LANAZA did not receive adequate care and services

   to address her developmental disabilities while in the care and custody of the state, remained in

    foster care for the majority of her minor life, and suffered and will continue to suffer

    deterior~tion   in her health. The losses are either permanent or continuing in nature and Plaintiff

    will suffer such losses in the future.

            WHEREFORE, Plaintiff, SOUNG LANAZA demands judgment against Defendant ONE

    HOPE, INC., for compensatory damages, costs, and all other such relief as the Court may deem

   just and proper.

            COUNT V- 42 U.S.C. § 1983 CLAIM AGAINST ONE HOPE UNITED,
                          INC. AND NAKEITHA HODRICK

            92.      Plaintiffreavers and realleges paragraphs 1-8; 21-28; 32-35; 44-48; 53-54; 57-60;

    62; 66-75 as if fully set forth herein.

            93.      This action arises under and is brought pursuant to 42 U.S.c. § 1983 to remedy

    the deprivation, under color of state law, of Plaintiffs federally guaranteed rights, including

    those under the Fourteenth Amendment of the United States Constitution.



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           94.      At all times relevant hereto, Defendant ONE HOPE was a "person" and was

   acting under the color of state law within the meaning of 42 U.S.C. § 1983.

           95.      At all times relevant hereto, Defendant, HODRICK, as the Vice President and

   Director of ONE HOPE, was acting under the color of state law and was acting or purporting to

   act in the performance of her official duties.

           96.      At all times material hereto, pursuant to § 409.1671(1)(f)(1), Florida Statutes,

   foster care is a public function traditionally within the exclusive prerogative of the State of

   Florida.

           97.      At all relevant times, it was clearly established that children in the physical

   custody of the state foster care system had the Constitutional right to be safe and free from

   unreasonable risk of harm.

           98.      At all times material hereto, ONE HOPE and HODRICK were deliberately

   indifferent and/or acted with reckless disregard to the Plaintiff's health, safety, and welfare and

   Constitutional rights, including without limitation by failing to properly train, supervise, and

   monitor case workers.

           99.      ONE HOPE and HODRICK violated Plaintiffs Constitutional rights in that:

                    a.     ONE HOPE and HODRCIK established and enforced customs, policies or

   practices which resulted in much longer stays and harm to foster children in its care compared

   with children in other districts in Florida, without achieving an appropriate permanency goal and

   in excess of the maximum twelve month timeframe allowed by state and federal law.

                    b.     ONE HOPE and HODRICK enforced a custom, policy, or practice which

   prioritized the financial interests of the agency over the best interests of the child, as was done to

   the Plaintiff;



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                   c.     ONE HOPE accepted the transfer of SOUNG LANAZA'S care from the

   DCF and OUR KIDS as part of the transfer to a Community Based Care system, while knowing

   from a transfer check list that her file did not contain many critical documents necessary to

   assess her needs and confirm that her needs were being met, while not taking action to otherwise

   locate and obtain missing documents and by not contacting DEOTHA WOODBURN or any

   other person to obtain necessary information that would have been contained within the missing

   documents.
                                                                                         \
                   d.     ONE HOPE owed to children who, like SOUNG LANAZA, were placed

   in other states pursuant to the Interstate Compact on the Placement of Children (ICPC), the same

   duty that was owed to children placed within Florida to assess and provide for all required and

   necessary disability, medical and any other services, but nonetheless failed to ensure that those

    assessments and services were in fact provided.

                   e.     ONE HOPE likewise failed to ensure a system was put into place to

    confirm that children, like SOUNG LANAZA, who were placed out of state pursuant to the

    ICPC, had their needs properly and adequately assessed and were provided with all required and

    necessary disability, medical and any other services.

                   f.     ONE HOPE was required, but failed, to ensure that children it provided

    services to, including SOUNG LANAZA, were safe and well-nurtured and likewise failed to

    ensure an effective procedure was in place to monitor and confirm these facts for each child in

    care.

                   g.      ONE HOPE was required, but failed, to ensure that children it provided

    services to, including SOUNG LANAZA, had their social, emotional, intellectual and physical




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   development needs met and likewise failed to ensure an effective procedure was in place to

   monitor and confirm these facts for each child in care.

                   h.      ONE HOPE was required, but failed, to ensure that a comprehensive

   health assessment was obtained for each and every child under its care, including SOUNG

    LANAZA, and likewise failed to ensure an effective procedure was in place to monitor and

    confirm these facts for each child in care.

                   1.      ONE HOPE was responsible, but failed, to ensure that any child under its

   care, including SOUNG LANAZA, who was eligible for developmental disability services

   received those services and that a support plan was in place to assess and coordinate those

    services, and likewise failed to ensure an effective procedure was in place to monitor and

    confirm these facts for each child in care.

                   J.      ONE HOPE was responsible, but failed, to ensure that any child under its

    care who was suspected to need developmental disability services, including SOUNG LANAZA,

    was assessed to determine and confirm any such needs, and likewise failed to ensure an effective

    procedure was in place to monitor and confirm these facts for each child in care.

                   k.      ONE HOPE was responsible, but failed, to ensure that any child and foster

    family under its care, including SOUNG LANAZA and DEOTHA WOODBURN, received

    necessary and appropriate services to allow the child to achieve the best permanency option

    possible.

                   1.      ONE HOPE was responsible, but failed, to ensure that any foster parent of

    any child under its care, including DEOTHA WOODBURN, received necessary education and

    training (including on an ongoing basis, not just before initial placement) on meeting the special

    needs of any developmentally disabled foster child, like SOUNG LANAZA, and likewise failed



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   to ensure an effective procedure was in place to monitor and confirm these facts for each child in

   care.

                    m.      ONE HOPE was responsible, but failed, to ensure that any child under its

   care, including SOUNG LANAZA, had their needs for transportation to access necessary

   services, including developmental disability services, assessed and provided for and likewise

   failed to ensure an effective procedure was in place to monitor and confirm these facts for each

   child in care.

                    n.      ONE HOPE was responsible, but failed, to ensure that any child under its

   care, including SOUNG LANAZA, had a complete and accurate case plan that addressed their

   needs consistent with their level of care, and to review and amend those case plans on an

   ongoing basis as needed in order to assess the status of case plan tasks and to determine any need

   for service referrals.

                    o.      ONE HOPE was responsible, but failed, to ensure that an effective

   procedure was in place to monitor and confirm that complete and accurate case plans were in

   place for each child under its care, including SOUNG LANAZA.

                    p.      ONE HOPE was responsible, but failed, to ensure that case plans for any

   child under its care, including SOUNG LANAZA, were developed in collaboration with his or

   her caregiver, including roster parents like DEOTHA WOODBURN in order to ensure it

   accounted for all information as to the needs of the child, and that the case plans included family

    goals, needs and strengths, child safety factors and risk level; likewise, ONE HOPE failed to

   ensure an effective procedure was in place to monitor and confirm these facts for each child in

    care.




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                    q.      ONE HOPE owed to children who, like SOUNG LANAZA, were placed

   in other states pursuant to the Interstate Compact on the Placement of Children (ICPC), the same

   duty that was owed to children placed within Florida to ensure that case plans were developed in

   collaboration with their caregivers, including foster parents like DEOTHA WOODBURN, but

   violated that duty; ONE HOPE likewise failed to ensure a system was put into place to confirm

   case plans for children placed in other states under the ICPC were developed in collaboration

   with their caregivers.

                    r.      ONE HOPE was responsible, but failed, to ensure that it timely obtained

   reports from all service providers for any child under its care, including SOUNG LANAZA, for

   quality decision-making and compliance in connection with case planning; likewise, ONE HOPE

   failed to ensure an effective procedure was in place to monitor and confirm these facts for each

   child in care.

                    s.      ONE HOPE was responsible, but failed, to obtain and maintain

    certification by Medicaid to offer to eligible children who, like SOUNG LANAZA, have mental

   health problems, targeted case management services; this duty extended both to children placed

   in Florida and those placed out of Florida under the ICPC; likewise, ONE HOPE failed to ensure

    an effective procedure was in place to monitor and confirm these facts for each child in care.

                    t.      ONE HOPE was responsible, but failed, to seek and obtain Medicaid

    waiver services to eligible children like SOUNG LANAZA, who are developmentally disabled;

    this duty extended both to children placed in Florida and those placed out of Florida under the

    ICPC; likewise, ONE HOPE failed to ensure an effective procedure was in place to monitor and

    confirm these facts for each child in care.




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                  u.      ONE HOPE was responsible, but failed, to make efforts to reduce the

   length of stay of children in care, like SOUNG LANAZA, consistent with statewide goals by

   effectively staffing cases to determine what was needed to move towards permanency, including

   putting all necessary and available services in place to support the foster child and caregiver, like

   DEOTHA WOODBURN.

                  v.      ONE HOPE and HODRICK enforced customs, policies, or practices

   which resulted in the failure to assess her and provide SOUNG LANAZA, and other disabled

   dependent children like her, with the available services which could meet her specialized health

   and developmental needs;

                  w.      SOUNG LANAZA was left in foster care for the first sixteen years of her

   life, five of those years were the fault of ONE HOPE; thereafter, ONE HOPE and HODRICK

   established and enforced customs, policies, or practices under which SOUNG LANAZA was

   unnecessarily rendered ineligible for available financial assistance to address her medical,

   physical, developmental, emotional, and behavioral needs; deprived her of extensive services

   which should have been available to her through the independent living program; and left her

   caregiver with inadequate financial assistance in amounts three times less than that which was

   initially promised to her.

                  x.      ONE HOPE and HODRICK knew that in order to achieve the optimal

   permanency option for a developmentally disabled children like SOUNG LANAZA, it was

   critical to. provide foster parents, like DEOTHA WOODBURN, with all necessary and available

   financial and other supports to meet the children's special needs; ONE HOPE and HODRICK

   knew that failing to do so placed such children at substantial risk of serious harm, but failed to

   ensure that the supports were provided.



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                 y.     RODRICK personally participated in acts along with her subordinates that

    caused violations to SOUNG LANAZA'S constitutionally-protected rights and she personally

   made decisions with regard to LANAZA, to wit:

                        1.   HODRICK was aware of systemic concerns and problems with the

                             administration of psychotropic medications to foster children who did

                             not have a behavior treatment plan that use of such medications

                             required for their safety and welfare, both short-term and long-term,

                             including such concerns that were raised and confirmed in 2008 by the

                             Gabriel Meyers Work Group that was assembled by the Secretary of

                             the DCF.

                        ii. RODRICK was aware that SOUNG LANAZA had been placed on

                             psychotropic medications, but failed to determine and confirm she had

                             a behavior treatment plan in place after such information was

                             requested by the Central Office of DCF specifically as to her case.

                       iii. SOUNG LANAZA never received a behavior treatment plan, nor did

                             she receive all of the behavioral services that could and should have

                             been provided under such a plan.

                       iv. She was informed that WOODBURN was raising concerns that she

                             was not receiving enough money to take care of Plaintiff LANAZA,

                             and that she had been raising those concerns for approximately five

                             years, but she directed no action to assess Plaintiff LANAZA's needs

                             and whether the level of funding being provided was sufficient;




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                     v. She was informed that WOODBURN was raising concerns that she

                          was not receiving enough money to take care of Plaintiff LANAZA,

                          and that she had been raising those concerns for approximately five

                          years, but she directed no action to determine whether the assigned

                          level of care that governed the amount of monies paid for support was

                          accurate and appropriate;

                    VI.   She was informed that WOODBURN was raising concerns that she

                          was not receiving enough money to take care of Plaintiff LANAZA,

                          and that she had been raising those concerns for approximately five

                          years, but she directed no action to resolve the financial distress by

                          achieving an adoption after LANAZA had spent over a decade without

                          permanency;

                    vii. HODRICK knew that prior to SOUNG LANAZA being placed with

                          DEOTHA WOODBURN in 1999, she was maintained in a foster

                          home which was provided over $2,800 per month to meet her needs.

                   viii. HODRICK knew that DEOTHA WOODBURN had a very limited

                          income of less than $400 per month and that upon SOUNG

                          LANAZA'S initial placement with her in 1999, she had been provided

                          for LANAZA'S support and needs a board rate of $1,200 per month,

                          plus LANAZA'S SSI benefits as the representative payee of those

                          benefits, which at that time were over $550 per month, for a total some

                          one-third less than the financial support ofthe prior foster placement.




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                    lX.   RODRICK knew that in 2002, DCF took action to replace itself as

                          representative payee of the SSI benefits, used those benefits to

                          reimburse itself in part for the board rate and did nothing to replace the

                          revenue that WOODBURN lost to care for LANAZA; at this time, the

                          financial support being provided was approximately sixty percent less

                          than the amount provided in 1999.

                     x. RODRICK         knew    that   between    2002    and   2009,    DEOTRA

                          WOODBURN continued to complain that the SSI benefits had never

                          been replaced and RODRICK knew that the board rate remained at the

                          original $1,200 level from 1999, with no adjustment for cost of living

                          increases.

                    Xl.   Notwithstanding this knowledge, in 2009 RODRICK personally

                          advocated for and secured in SOUNG LANAZA'S dependency Court

                          the worst possible permanency option for LANAZA in terms of

                          receiving necessary financial support, permanent guardianship; that

                          option caused WOODBURN to lose her entire existing board payment

                          and replace it with .only LANAZA'S SSI benefits, for which she could

                          then become representative payee, in an amount that at that time was

                          only $697 per month; thus, she was left in 2009 with an seriously

                          inadequate level of financial support that Was approximately 40

                          percent less than had been provided for LANAZA from 2002 through

                          2009, approximately 60 percent less than was provided from 1999 to




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                        2002, and 75 percent less than was provided to the Florida foster home

                        in 1999.

                    xu. The other permanency option that could and should have been

                        achieved with proper supports was adoption, which would have

                        provided at least $2,000 per month in an enhanced adoption subsidy

                        that had already been approved to meet LANAZA'S needs and that

                        could have been much higher than that had a proper needs assessment

                        been performed.

                   xiii. HODRICK advocated for the permanency option of permanent

                        guardianship while knowing not only that the necessary consent of

                        DEOTHA WOODBURN had not been obtained, but that she objected

                        to the option under the totality of the financial and related

                        circumstances which left on LANAZA's SSI of $697 per month to

                        care for her and to meet her extensive disability and living needs.

                   xiv. In addition, HOD RICK knew in 1999 at the time of the permanent

                        guardianship Order, that all supervision of LANAZA by the DCF,

                        OUR KIDS and ONE HOPE would case and that services provided

                        through the foster care system would also cease, but did nothing to

                        ensure that necessary developmental and other services were in place.

                    xv. HODRICK took this action without making any effort to confirm that
                                                    -
                        LANAZA'S needs could be met under that option and without

                        ensuring that LANAZA had been properly referred for all necessary




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                                  and available services to meet her needs as developmentally disabled

                                  child, including Medicaid Waiver services.

                           XVl.   HODRICK was aware that SOUNG LANAZA was among the top 100

                                  children of the approximately 20,000 in the entire state of Florida who

                                  were in foster care the longest.

                       XVll.      HODRICK was aware that SOUNG LANAZA was among one of ten

                                  children under the care of ONE HOPE who were in foster care in

                                  Florida the longest and likewise aware that ONE HOPE had under its

                                  care a disproportionate share of foster children in care the longest

                                  state-wide compared with other case management agencies.

                      xviii. HODRICK was aware that achieving an appropriate permanency result

                                  was in LANAZA'S best interests and rights, but she took 'no

                                  appropriate action to address that lack of permanency when DCF and

                                  OUR KIDS raised such concerns when she could and should have

                                  done so.

          100.    As to SOUNG LANAZA and any other child placed out of state under the ICPC,

   all of the duties and responsibilities set forth herein as to ONE HOPE and HODRICK were non-

   delegable to the states in which those children were placed and, in fact, were expressly retained

   under Florida law and the policies and procedures of DCF, which applied to ONE HOPE and

   HODRICK.

          101.    DEFENDANTS, ONE HOPE and HODRICK's took said actions knowing they

   were exposing children who were in State custody, including SOUNG LANAZA, to a substantial

   risk of serious harm.



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           102.   At all times that ONE HOPE and HODRICK were taking the actions described

   herein, it was clearly established that developmentally disabled children in the physical custody

   ofthe state foster care system, like the Plaintiff, have the Constitutionally and federally protected

   right to receive the necessary, most appropriate and best available services to address all of their

   developmental disability needs, medical needs and emotionallbehavioral needs, as well as the

   right to reach their best permanency option in a timely manner.

           103.   Despite possessing the authority and means to remedy the unconstitutional

   treatment of the child, ONE HOPE and HODRICK were deliberately indifferent and/or

   recklessly failed to take immediate action to ensure that the Plaintiff and other dependent

   children like her received all necessary treatment and services to meet identified needs and to

   reach the appropriate permanency goal timely.

           104.   ONE HOPE'S and HODRICK's deliberate indifference and/or recklessness was a

   substantial factor, and a direct and proximate cause of the Plaintiff and other dependent children

   like her to suffer physical harm, medical harm, developmental harm, psychological trauma, pain

   and suffering, deterioration, and other reasonably foreseeable damages.

           105.   Plaintiff is obligated to the undersigned firm for payment of attorney's fees and

   costs, and is entitled to recover reasonable attorney's fees and costs pursuant to the provisions of

   42 U.S.C. § 1988.

           WHEREFORE, the Plaintiff prays that this Honorable Court enter a judgment in favor of

   Plaintiff against Defendant ONE HOPE and HODRICK for all recoverable damages, attorney's

   fees and costs, and all such other lawful damages and relief as the Court may deem appropriate

    and proper.




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                COUNT VI- 42 U.S.C. § 1983 CLAIM AGAINST OUR KIDS, INC.
                                       AND FRANCES ALLEGRA
           106.      Plaintiffreavers and realleges paragraphs 1-8; 16-20; 22; 26-29; 32-35; 40-41; 45-

   48; 53-54; 57-75 as if fully set forth herein.

           107.      This action arises under and is brought pursuant to 42 U.S.C. § 1983 to remedy

   the deprivation, under color of state law, of Plaintiffs guarantee rights under the Fourteenth

   Amendment of the United States Constitution and applicable federal laws, including without

   limitation, the Adoption and Safe Families Act.

           108.      At all times relevant hereto, Defendant, OUR KIDS, was a "person" and was

   acting under the color of state law within the meaning of 42 U.S.C. § 1983.

           109.      At all times relevant hereto, Defendant, ALLEGRA, as Executive Director of

   OUR KIDS, was acting under the color of state law and was acting or purporting to act in the

   performance of her official duties.

           110.      At all times material hereto, pursuant to § 409.1671(1)(f)(1), Florida Statutes,

   foster care is a public function traditionally within the exclusive prerogative of the State of

   Florida.

           111.      At all relevant times, it was clearly established that children in the physical

   custody of the state foster care system had the Constitutionally-protected right to be safe and free

   from unreasonable risk of harm.

              112.   At all times material hereto, OUR KIDS and ALLEGRA were deliberately

   indifferent and/or acted with reckless disregard to the Plaintiffs health, safety, and welfare and

   Constitutional and federal rights, including without limitation by failing to properly train,

   supervise, and monitor case workers.



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          113.    OUR KIDS and ALLEGRA established and maintained an unconstitutional

   system of care that could never ensure the safety and well-being of foster children, including

   SOUNG LANAZA, because it abdicated its constitutional and statutory duties to ensure that

   each child in its care was free from harm by delegating all responsibility to its subcontractors,

   including ONE HOPE, with no direct supervision, no participation in case staffings, or any other

   case involvement that would be necessary to meeting its constitutional and statutory duties,

   resulting in a child welfare system that permitted case managers to operate unchecked,

   unsupervised, and blatantly ignore and/or deliberately fail to learn of the plethora of red flags and

   warning signs that SOUNG LANAZA'S needs were not being properly assessed and provided

   for, and that her foster parent, DEOTHA WOODBURN, was not receiving the necessary training

   and supports to meet those needs and establish permanency timely and adequately. In this regard,

   OUR KIDS and ALLEGRA violated Plaintiffs Constitutional rights in that:

                  a.      OUR KIDS and ALLEGRA accepted responsibility for the care of

   children including SOUNG LANAZA as part ofthe transfer to a Community Based Care system,

   knowing that her DCF files did not contain many critical documents necessary to assess her

   needs and confirm that her needs were being met.

                  b.      OUR KIDS and ALLEGRA accepted the inadequate file of SOUNG

   LANAZA and other foster children because of pressure from DCF to accept incomplete files

   under a transition schedule that was originally planned for ten months, but then compressed to

   four months by DCF.

                  c.      Despite bowing to that pressure and knowing of the deficient files, OUR

   KIDS and ALLEGRA did not take action to otherwise locate and obtain missing documents for

   such children including SOUNG LANAZA and did not contact any other person to obtain



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   necessary infonnation that would have been contained within the mIssmg documents for

   SOUNG or any other children.

                    d.    OUR KIDS and ALLEGRA then assigned SOUNG LANAZA'S case to

   ONE HOPE, while knowing from a file transfer check list that her file did not contain many
    •
   critical documents necessary to assess her needs and confinn that her needs were being met,

   while not taking action to otherwise locate and obtain missing documents and by not contacting

   DEOTHA WOODBURN or any other person to obtain necessary infonnation that would have

   been contained within the missing documents.

                    e.    OUR KIDS and ALLEGRA accepted responsibility for the care of

   children including SOUNG LANAZA as part of the transfer to a Community Based Care system,

   without otherwise ever independently assessing their needs and confinning that her needs or

   needs of other children were being met, before or after assigning the case to ONE HOPE.

                    f.    OUR KIDS and ALLEGRA established and enforced a custom, policy, or

   practice which encouraged and allowed children in foster care, including SOUNG LANAZA,

   whose parents' rights had been tenninated, to remain in foster care for many years in excess of

   the maximum twelve month timeframe allowed by state and federal law without achieving an

   appropriate pennanency goal.

                    g.    OUR KIDS and ALLEGRA established and enforced customs, policies, or

   practices which resulted in much longer stays for foster children under its care without achieving

   pennanency compared with children in other districts in Florida.

                    h.    OUR KIDS and ALLEGRA enforced a custom, policy, or practice which

   prioritized the financial interests of the agency over the best interests of the child, as was done to

   the Plaintiff.



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                  1.       OUR KIDS owed to children who, like SOUNG LANAZA, were placed

   in other states pursuant to the Interstate Compact on the Placement of Children (ICPC), the same

   duty that was owed to children placed within Florida to assess and provide for all required and

   necessary disability, medical and any other services, but nonetheless failed to ensure that those

   assessments and services were in fact provided.

                  J.       OUR KIDS likewise failed to ensure a system was put into place to

   confirm that children, like SOUNG LANAZA, who were placed out of state pursuant to the

   ICPC were properly and adequately assessed and provided with all required and necessary

   disability, medical and any other services.

                  k.       OUR KIDS was required, but failed, to ensure that children it provided

   services to, including SOUNG LANAZA, were safe and well-nurtured and likewise failed to

   ensure an effective procedure was in place to monitor and confirm these facts for each child in

   care.

                  1.       OUR KIDS was required, but failed, to ensure that children it provided

   services to, including SOUNG LANAZA, had their social, emotional, intellectual and physical

   development needs met and likewise failed to ensure an effective procedure was in place to

   monitor and confirm these facts for each child in care.

                   m.      OUR KIDS was required, but failed, to ensure that a comprehensive health

   assessment was obtained for each and every child under its care, including SOUNG LANAZA,

   and likewise failed to ensure an effective procedure was in place to monitor and confirm these

   facts for each child in care.

                   n.      OUR KIDS was responsible, but failed to ensure that any child under its

   care who was eligible for developmental disability services received those services, including



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   SOUNG LANAZA, and likewise failed to ensure an effective procedure was in place to monitor

   and confirm these facts for each child in care.

                    . o.   OUR KIDS was responsible, but failed, to ensure that any child under its

   care who was suspected to need developmental disability services, including SOUNG LANAZA,

   was assessed to determine and confirm any such needs and that a support plan was in place to

   assess and coordinate those services, and likewise failed to ensure an effective procedure was in

   place to monitor and confirm these facts for each child in care.

                     p.    OUR KIDS was responsible, but failed, to ensure that any child and foster

   family under its care, including SOUNG LANAZA and DEOTHA WOODBURN, received

   necessary and appropriate services to allow the child to achieve the best permanency option

   possible.

                     q.    OUR KIDS was responsible, but failed, to ensure that any foster parent of

   any child under its care, including DEOTHA WOODBURN, received necessary education and

   training (including on an ongoing basis, not just before initial placement) on meeting the special

   needs of any developmentally disabled foster child, like SOUNG LANAZA, and likewise failed

   to ensure an effective procedure was in place to monitor and confirm these facts for each child in

   care.

                     r.    OUR KIDS was responsible, but failed, to ensure that any child under its

   care, including SOUNG LANAZA, had their needs for transportation to access necessary

   services, including developmental disability services, assessed and provided for and likewise

   failed to ensure an effective procedure was in place to monitor and confirm these facts for each

   child in care.




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                   s.        OUR KIDS was responsible, but failed, to ensure that any child under its

   care, including SOUNG LANAZA, had a complete and accurate case plan that addressed their

   needs consistent with their level of care, and to review and amend those case plans on an

   ongoing basis as needed in order to assess the status of case plan tasks and to determine any need

   for service referrals.

                   t.        OUR KIDS was responsible, but failed, to ensure that an effective

   procedure was in place to monitor and confirm that complete and accurate case plans were in

   place for each child under its care, including SOUNG LANA,ZA.

                   u.        OUR KIDS was responsible, but failed, to ensure that case plans for

   children under its care, including SOUNG LANAZA, were developed in collaboration with their

   caregivers, including foster parents like DEOTHA WOODBURN, in order to ensure it accounted

   for all information as to the needs of the child, and that the case plans included family goals,

   needs and strengths, child safety factors and risk level; likewise, OUR KIDS failed to ensure an

   effective procedure was in place to monitor and confirm these facts for each child in care.

                   v.        OUR KIDS owed to children who, like SOUNG LANAZA, were placed

    in other states pursuant to the Interstate Compact on the Placement of Children (lCPC), the same

   duty that was owed to children placed within Florida to ensure that case plans were developed in

   collaboration with their caregivers, including foster parents like DEOTHA WOODBURN, but

    violated that duty; OUR KIDS likewise failed to ensure a system was put into place to confirm

    case plans for children placed in other states under the ICPC were developed in collaboration

    with their caregivers.

                   w.        OUR KIDS was responsible, but failed, to ensure that it timely obtained

    reports from all service providers for any child under its care, including SOUNG LANAZA, for



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   quality decision-making and compliance in connection with case planning; likewise, OUR KIDS

   failed to ensure an effective procedure was in place to monitor and confirm these facts for each

   child in care.

                    x.    OUR KIDS was responsible, but failed, to obtain and maintain

   certification by Medicaid to offer to eligible children who, like SOUNG LANAZA, have mental

   health problems, targeted case management services; this duty extended both to children placed

   in Florida and those placed out of Florida under the ICPC; likewise, OUR KIDS failed to ensure

   an effective procedure was in place to monitor and confirm these facts for each child in care.

                    y.    OUR KIDS was responsible, but failed, to seek and obtain Medicaid

   waiver services to eligible children like SOUNG LANAZA, who are developmentally disabled;

   this duty extended both to children placed in Florida and those placed out of Florida under the

   ICPC; likewise, OUR KIDS failed to ensure an effective procedure was in place to monitor and

   confirm these facts for each child in care.

                    z.    OUR KIDS was responsible, but failed, to make efforts to reduce the

   length of stay of children in care, like SOUNG LANAZA, consistent with statewide goals by

   effectively staffing cases to determine what was needed to move towards permanency, including

   by putting all necessary and available services in place to support the foster child and caregiver,

    like DEOTHA WOODBURN.

                    aa.   OUR KIDS was aware, but took no appropriate action, to address the fact

    that it had within its care a significantly disproportionate share of children in Florida in foster

    care the longest, including 25 of the top 100 foster children in care the longest out of a total

    foster care population of approximately 20,000 children.




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                   bb.     OUR KIDS and ALLEGRA knew that in order to achieve the optimal

   permanency option for a developmentally disabled children like SOUNG LANAZA, it was

   critical to provide foster parents, like DEOTHA WOODBURN, with all necessary and available

   financial and other supports to meet the children's special needs; OUR KIDS and ALLEGRA

   knew that failing to do so placed such children at substantial risk of serious harm, but failed to

   ensure that the supports were provided.

                   cc.     ALLEGRA personally participated in acts along with her subordinates that

   caused violations to SOUNG LANAZA'S constitutionally-protected rights and she personally

   made decisions with regard to LANAZA with knowledge of the existence of a substantial risk of

   serious harm, to wit:

           1.   She was repeatedly informed that WOODBURN was raising concerns that she was

                not receiving enough money to take care ofPlaintiffLANAZA, and that she had been

                raising those concerns for approximately five years, but she directed no action to

                assess whether the level of funding being provided to me LANAZAS was sufficient

                when it was not;

          11.   She was repeatedly informed that WOODBURN was raising concerns that she was

                not receiving enough money to take care of Plaintiff LANAZA, and that she had been

                raising those concerns for approximately five years, but she directed no action to

                determine whether the assigned level of care that governed the amount of monies paid

                for support was accurate and appropriate when it did not met her needs;

         111.   She was repeatedly informed that WOODBURN was raising concerns that she was

                not receiving enough money to take care of Plaintiff LANAZA, and that she had been

                raising those concerns for approximately five years, but she directed no action to



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                resolve the financial distress by achieving an adoption after LANAZA had spent over

                a decade without pennanency;

         lV.    She was personally aware of systemic concerns and problems with the administration

                of psychotropic medications to foster children who did not have a behavior treatment

                plan that use of such medications required for their safety and welfare, both short-

                tenn and long-tenn, including such concerns that were raised and confinned in 2008

                by the Gabriel Meyers Work Group that assembled by the Secretary of the DCF;

          v. She was personally aware through her receipt of reports of the identity of foster

                children, including SOUNG LANAZA, who were on psychotropic medications

                without there being in place a behavior treatment plan to address her behavioral

                needs;

         vi. SOUNG LANAZA never received a comprehensive behavior treatment plan, nor did

                she receive all of the behavioral services that could and should have been provided

                under such a plan which caused and contributed her to deterioration.

        Vll.    ALLEGRA was personally aware no later than September 2008 that DCF had raised

                concerns about the 25 children in OUR KIDS care including SOUNG LANAZA who

                were in the top 100 children of the approximately 20,000 in the entire state of Florida

                who were in foster care the longest, and she was aware of the urgency that these

                children achieve an appropriate pennanency result, but she took no appropriate action

                to urgently address that lack of pennanency for SOUNG LANAZA;

        Vlll.   ALLEGRA participated in and orchestrated the OUR KIDS' policies and procedures

                under which the transfer of SOUNG LANAZA'S care from the DCF was accepted, as

                described above, and then assigned to ONE HOPE, while the file transfer check list



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              showed her file was missing many critical documents to assess her needs and confirm

              that her needs were being met.

          114.   As to SOUNG LANAZA and any other child placed out of state under the ICPC,

   all of the duties and responsibilities set forth herein as to OUR KIDS and ALLEGRA were non-

   delegable to the states in which those children were placed and, in fact, were expressly retained

   under Florida law and the policies and procedures of DCF, which applied to OUR KIDS and

   ALLEGRA.

          115.   To the extent that OUR KIDS attempted to delegate to ONE HOPE and other case

   management agencies any of its duties owed to foster children by virtue of its contract with DCF,

   including SOUNG LANAZA, OUR KIDS still owed a duty to ensure that ONE HOPE upheld

   the rights of each individual child by putting in .place policies and procedures to confirm their

   needs were met.

          116.    In this regard, OUR KIDS maintained ultimate responsibility to ensure that

   children in its care received adequate care and protection from harm and was required to, but

   failed, to implement policies and procedures to verify the accuracy or ensure the completeness of

   information provided by ONE HOPE concerning the welfare of foster children, including

   LANAZA.

          117.    OUR KIDS violated its duties to oversee ONE HOPE and other case management

   agencies by making deliberate choices from among various alternatives that created known risks

   that foster children under its care would not receive adequate care and protection from harm, and

   these policies were a substantial factor in the violation ofLANAZA'S rights, as follows:

              a. Establishing and maintaining a system of care involving use of subcontracting to

                  other agencies, including ONE HOPE, without monitoring and confirming that



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                   the needs of each child were met, including SOUNG LANAZA, thus engaging in

                   a deliberate failure to learn of the children's conditions and deliberate failure to

                   check and verify that their needs were being met and their constitutionally-

                   protected upheld by the subcontracted agencies;

               b. Relying only on "quality assurance system" of a random sampling of a small

                   percentage of cases being handled by ONE HOPE to verify their performance,

                   rather than implementing a system which would ensure regular review of each file

                   of each child in care to confirm that each child's need were being assessed and

                   met; in this regard, OUR KIDS never comprehensively·reviewed the handling of

                   SOUNG LANAZA'S case by ONE HOPE in over four years to confirm that her

                   needs were being assessed and met;

               c. Failing to ensure that cases involving developmentally disabled children like

                   SOUNG LANAZA who were placed out of state under the ICPC were ever

                   reviewed to ensure that their special needs were being met; the only possible

                   review was if such a file happened to fall into the random "quality assurance

                   system" described above.

            118.   At times that OUR KlDS and ALLEGRA were taking the actions described

   herein, it was clearly established that developmentally disabled children in the physical custody

    of the state foster care system, like the Plaintiff, have the Constitutionally and federally protected

    right to receive the necessary, most appropriate and best available services to address all of their

    developmental disability needs, medical needs and emotionallbehavioral needs, as well as the

    Constitutionally-protected right to reach their best permanency option in a timely manner.




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             119.   DEFENDANTS, OUR KIDS and ALLEGRA's took said actions knowing they

   were exposing children who were in State custody, including SOUNG LANAZA, to a substantial

   risk of serious hann.

             120.   Despite possessmg the authority and means to remedy the unconstitutional

   treatment of the child, OUR KIDS and ALLEGRA were deliberately indifferent and/or

   recklessly failed to take immediate action to ensure that the Plaintiff and other dependent

   children like her received all necessary treatment and services and reached the appropriate

   permanency goal.

             121.   As a direct and proximate result of OUR KIDS' and ALLEGRA's deliberate

   indifference and/or recklessness, the Plaintiff and other dependent children like her suffered

   physical hann, medical hann, developmental hann, psychological trauma, pain and suffering,

   deterioration, and other reasonably foreseeable damages.

             122.   Plaintiff is obligated to the undersigned firm for payment of attorney's fees and

   costs, and is entitled to recover reasonable attorney's fees and costs pursuant to the provisions of

   42 U.S.C. § 1988.

             WHEREFORE, the Plaintiff prays that this Honorable Court enter a judgment in favor of

   Plaintiff against Defendants, OUR KIDS and ALLEGRA for all recoverable damages, attorney's

   fees and costs, and all such other lawful damages and relief as the Court may deem appropriate

    and proper.

         COUNT VII- 42 U.S.C § 1983 CLAIM AGAINST DEFENDANT, OLGA
                                     ROJAS

             123.   Plaintiff reavers and realleges paragraphs 1- 17; 26-63; 66-75 as if fully set forth

   herein.



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             124.    This action arises under and is brought pursuant to 42 U.S.C. § 1983 to remedy

   the deprivation, under color of state law, of Plaintiffs guaranteed rights under the Fourteenth

   Amendment of the United States Constitution and applicable federal laws, including without

   limitation, the Adoptions and Safe Families Act.

             125.    At all times relevant hereto, Defendant ROJAS, as the Family Services Counselor,

   was acting under the color of state law and was acting or purporting to act in the performance of

   her official duties.

             126.    At all times material hereto, pursuant to § 409.1671(1)(f)(1), Florida Statutes,

   foster care is a public function traditionally within the exclusive prerogative of the State of

   Florida.

             127.    At all relevant times, it was clearly established that children in the physical

   custody of the state foster care system had the Constitutional and federal right to be safe and free

   from unreasonable risk of harm.

              128.   At all times material hereto, ROJAS was deliberately indifferent and/or acted with

   reckless disregard to the Plaintiffs health, safety, and welfare and Constitutional and federal

   rights.

              129.   ROJAS violated Plaintiffs Constitutional and federal rights in that:

                 a. She failed to ensure that a case plan was in effect at all times while SOUNG

   LANAZA was in the custody of the state;

                 b. She failed to move the case towards permanency to ensure that SOUNG

   LANAZA was adopted within the statutory time frame, which resulted in SOUNG LANAZA

   remaining in foster care for sixteen years and ultimately remaining an orphan and ward of the

    state;



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               c. She failed to timely initiate the ICPC despite awareness that relatives were willing

   and eager to care for SOUNG LANAZA;

               d. She failed to monitor SOUNG LANAZA's medication despite her knowledge that

   the child had extensive medical needs and developmental disabilities;

               e. She failed to ensure that SOUNG LANAZA received the social security benefits

   to assist with her disabilities;

               f.   She failed to properly assess the child's safety while she was in Delcita Bartley's

   group home;

               g. She failed to ensure the health and safety of SOUNG LANAZA while she was in

   the Delcita Bartley's group home group resulting in the continued deterioration of a child with

   extensive developmental disabilities.

           130.     Defendant ROJAS took said actions knowing they would deprive the child of her

   constitutional and federal rights and expose her to a substantial risk of harm.

           131.     At all times that ROJAS was taking the actions described herein, it was clearly

   established that developmentally disabled children in the physical custody of the state foster care

   system, like the Plaintiff, have the Constitutional and federal right to receive the necessary, most

   appropriate and best available services to address all of their developmental disability needs,

   medical needs and emotionallbehavioral needs, as well as the Constitutional and federal right to

   reach their best permanency option in a timely manner.

           132.     Despite possessing the authority and means to remedy the unconstitutional

   treatment of the child, ROJAS was deliberately indifferent and/or recklessly failed to take

   immediate action to ensure that the Plaintiff and other dependent children like her received all

   necessary treatment and services and reached the appropriate permanency goal timely.



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             133.   ROJAS's deliberate indifference and/or recklessness was a substantial factor, and

   a direct and proximate cause of the Plaintiff to suffer physical harm, medical harm,

   developmental harm, psychological trauma, pain and suffering, deterioration, and other

   reasonably foreseeable damages.

             134.   Plaintiff is obligated to the undersigned firm for payment of attorney's fees and

   costs, and is entitled to recover reasonable attorney's fees and costs pursuant to the provisions of

   42 U.S.C. § 1988.

             WHEREFORE, the Plaintiff prays that this Honorable Court enter a judgment in favor of

   Plaintiff against Defendant, ROJAS for all recoverable damages, attorney's fees and costs, and

   all such other lawful damages and relief as the Court may deem appropriate and proper.

           COUNT VIII- ESTOPPELIRESTITUTION CLAIM AGAINST
        DEFENDANT STATE OF FLORIDA DEPARTMENT OF CHILDREN
                         AND FAMILY SERVICES

             135.   Plaintiff reavers and realleges paragraphs 1- 20; 22; 26-63; 66-75 as if fully set

   forth herein.

             136.   On or about March 3, 1998, the DEPARTMENT promised              WOODBU~N        in

   writing through the ICPC that she would receive on Plaintiffs behalf specific financial

    assistance to which SOUNG LANAZA was entitled to receive under state and federal laws to

    ensure that WOODBURN could provide for PLAINTIFF's ongoing specialized care and health

    needs.

             137.   The DEPARTMENT knew or reasonably should have known that its promise to

    deliver sufficient financial benefits for Plaintiff's care would induce WOODBURN to rely upon

    that promise and assert an ability to meet Plaintiff s needs when agreeing to become her primary

    caregiver.


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            138.   The DEPARTMENT knew that New York would not and could not agree to

   supervise the Plaintiff's care pursuant to the ICPC unless the DEPARTMENT delivered

   adequate financial assistance and funds to which the Plaintiff was entitled in order to meet her

   needs.

            139.   WOODBURN, on behalf of the Plaintiff, did in fact reasonably rely upon the

   DEPARTMENT's promise to deliver the agreed upon foster care board rate and other financial

   benefits to which the Plaintiff was entitled, including without limitation Medicaid benefits and

   Social Security disability benefits.

            140.   Between 1999 and 2002, WOODBURN received on Plaintiff's behalf the agreed

   upon financial assistance and benefits to which Plaintiff was entitled; however, in 2002 and

   continuing each year thereafter, the DEPARTMENT, by and through its agent OUR KIDS,

   and/or OUR KIDS, illegally intercepted many of the funds to which Plaintiff was entitled by

   applying to become SOUNG LANAZA's registered payee of social security benefits and did so

   by materially misinforming the Social Security Administration on an annual basis as to

   Plaintiff's true status; as a direct and proximate result, Plaintiff was denied receipt of significant

   support monies to which she was entitled to receive through WOODBURN.

            141.   WOODBURN,          on   Plaintiff's   behalf,   detrimentally    relied   upon    the

   DEPARTMENT'S promise to provide adequate financial support and delivery of Plaintiff's

   public benefits; in turn, WOODBURN was forced to provide as best she could for SOUNG

   LANAZA'S extensive and specialized needs with significantly less financial resources than she

   should have.




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           142.    As a direct and proximate result, Plaintiff suffered and was not able to have her

   needs met as fully and comprehensively by WOODBURN as should have been possible and she

   was injured.

           143.    Justice requires that the promise made by the DEPARTMENT through the ICPC

   to provide adequate financial assistance and specific benefits for the care of SOUNG LANAZA

   be enforced to ensure the delivery to the Plaintiff of continued quality care and services for her

   health and well-being and that the DEPARTMENT and OUR KIDS be disgorged of improperly

   retained funds and restore all monies belonging to Plaintiff that were misappropriated into the

   Defendants' accounts.

           WHEREFORE, Plaintiff, SOUNG LANAZA demands judgment against Defendants

   FLORIDA DEPARTMENT OF CHILDREN AND FAMILY SERVICES and OUR KIDS, for

   restitution equal to the amount promised in the ICPC request for the care of SOUNG LANAZA

   since 2002, costs, and all other such relief as the Court may deem just and proper.

        COUNT IX- NEGLIGENCE CLAIM AGAINST DEFENDANT, STATE
          OF FLORIDA DEPARTMENT OF CHILDREN AND FAMILY
                              SERVICES

           144.    Plaintiff reavers and realleges paragraphs 1-75 as if fully set forth herein.

           145.    Pursuant to § 768.28, Florida Statutes, Plaintiff notified the DEPARTMENT of

   this claim six months or more prior to the filing of this Fourth Amended Complaint, and all

   conditions precedent have been performed.

           146.    The DEPARTMENT, through its agents and/or employees, owed Plaintiff the

   following non-delegable duties:

               a. To provide continuity of care for SOUNG LANAZA from her entry into foster

   care until her exit;


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               b. To ensure that contracted and subcontracted community based-care providers,

   including, but not limited to, OUR KIDS and ONE HOPE, met the outcomes and performance

   standards relating to the child protective services provided to SOUNG LANAZA pursuant to

   Florida Statute § 409. 1671(2)(a);

               c. To use reasonable care in the supervision and oversight of SOUNG LANAZA to

   ensure her health, welfare, and safety needs were met, including as expressly contemplated,

   affirmed and delineated in Chapter 39 of the Florida Statutes, the Florida Administrative Code

   and other written policies and procedures issued by the DEPARTMENT;

               d. To ensure SOUNG LANAZA's individual dignity, liberty, pursuit of happiness,

   and the protection of her federally guaranteed civil and other legal rights pursuant to Florida

    Statute § 39.4085(2);

               e. To ensure that personnel providing services to SOUNG LANAZA be sufficiently

   qualified, experienced and diligent to meet her needs while she was in State custody pursuant to

    Florida Statute § 39.4085(4);

               f.   To ensure that SOUNG LANAZA received meaningful case management and

   planning that would enabled her to achieve permanency, at the very least within the time frames

    required by federal and state law pursuant to Florida Statute §§ 39.4085(13); 39.001(1)(h)

    (2010); 39.45(2) (1994).

               g. To ensure that SOUNG LANAZA received a Comprehensive Behavioral Health

    Assessment ("CBHA") upon her entry into shelter care, pursuant to Florida Administrative Code

    Rule 65C-28.014, and CFOPs 155-10 and 175-40.

               h. To ensure that SOUNG LANAZA received a CBHA to assist in determining

    services that would allow her to maintain her placement upon her exhibiting emotional or



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   behavioral issues that might result in the child losing her placement, pursuant to Florida

   Administrative Code Rule 65C-28.014 and CFOP 155-10.

              L To ensure that all services identified through a CBHA were referred and

   implemented within thirty (30) days of identification of the need, and if they were not initiated to

   document the reasons why services were not initiated, pursuant to Florida Administrative Code

   Rule 65C-28.014 and CFOP 155-10.

              j.   To ensure that all service needs identified in a CBHA were implemented into a

   case plan within thirty (30) days of identification of the need pursuant to Florida Administrative

   Code Rules 65C-28.014, 65C-30.006, and CFOP 155-10.

              k. To ensure that SOUNG LANAZA received a full risk, health, educational,

   medical, and psychological screening, and assessment and testing upon adjudication into foster

   care pursuant to Florida Statute § 39.4085(6);

              1.   To ensure SOUNG LANAZA's safety by providing necessary medical,

   emotional, psychological, psychiatric, and educational evaluations and treatment, as soon as

   practicable after identification of the need for such services by the screening and assessment

   process pursuant to Florida Statute § 39.4085(6);

              m. To ensure that when a special need was recognized or suspected, that steps were

   taken within three (3) working days to address the need, including ensuring that a referral for a

   CBHA was made to address a mental health special need; ensuring that an appointment was

   made to screen the child by her primary care physician or appropriate medical personnel for

   determination of the child's need; ensuring that the child was referred to the local CMAT if a

   medical special need was suspected or identified to ensure services were coordinated in

    accordance with the Medical Foster Care Statewide Operational Plan; ensuring that when a child



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   was suspected or identified as having a developmental delay or condition, any documentation to

   support the need for developmental services were obtained and eligibility for developmental

   services was applied for as soon as the need was recognized; encouraging and providing

   necessary support to the caregiver in participating in the assessment or medical evaluation

   process, ensuring that when a disability was determined, the person making the placement

   provided the results of the assessment or medical examination to the placement authority as soon

   as possible; coordinating the transfer of infonnation between the caregiver, physician, and the

   placement unit, pursuant to Florida Administrative Code 65C-28.004.

              n. To ensure that SOUNG LANAZA was afforded prompt access to all available

   state and federal programs that were created specifically for persons with her disabilities and

   status as a dependent child, including, but not limited to Early Periodic Screening, Diagnosis,

   and Testing (EPSDT) Services, developmental services programs, Medicaid Waiver Services,

   Medicare and supplemental security income, Children's Medical Services pursuant to Florida

   Statute § 39.4085(23);

              o. To ensure that SOUNG LANAZA was in a safe pennanent home within twelve

   months of foster care placement or eighteen months of removal pursuant to Florida Statute §§

   39.001(1)(h) (2010); 39.45(2) (1994);

               p. To facilitate the foster parent's participation in case planning and service delivery

   pursuant to Florida Statute § 39.6011 and Florida Administrative Code 65C-30.006.

               q. To initiate appropriate action to involve other departmental and community

   programs that provide services that the child may need pursuant to the Florida Administrative

    Code and Florida Statute §§ 20.19(1)(c); 39.001;




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              r. To ensure that upon case transfer to a contracted providers, a staffing was held

   providing detailed information about the case pursuant to Florida Administrative Code Rule

   30.002;

              s. To ensure SOUNG LANAZA's safety, health, and well being by addressing her

   developmental disabilities while she was in the care and custody of the State Florida pursuant to

   Florida Administrative Code 65C-28.004 and Florida Statute § 393.13;

              t.   To ensure that SOUNG LANAZA received all Medicaid Waiver benefits to

   which she was entitled while she was in the care and custody of the State pursuant to Florida

   Administrative Code 65C-28.004 and Florida Statute § 393.13;

              u. To ensure that SOUNG LANAZA's caregiver received adequate financial support

   and services to secure the health and safety of SOUNG LANAZA and to address her special

   needs as they relate to her developmental disabilities pursuant to Florida Administrative Code

   65C-28.004 and Florida Statute § 393.13;

              v. To identify developmental delays or conditions and obtain any documentation to

   support the need for developmental services and ensure that an application for developmental

   services was submitted once SOUNG LANAZA'S needs were determined pursuant to Florida

   Administrative Code 65C-28.004;

              w. To ensure that SOUNG LANAZA'S physical health needs were met through the

   gathering of any medical history and referral for and follow-up to medical care to ensure the

   provision of developmental evaluation and treatment for children who were developmentally

   delayed pursuant to Florida Administrative Code Rule 65C-30.006;

              x. To ensure that SOUNG LANAZA'S mental health needs were met through

   referral for and follow-up to ensure the provision of a CBHA and any assessments, evaluations



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   and treatment necessary for mental health problems pursuant to Florida Administrative Code

   Rule 30.006.

              y. To prepare the caregiver, prior to the placement of SOUNG LANAZA with her,

   as to how to meet her many and varied special needs pursuant to Florida Administrative Code

   65C-28.005;

              z. To ensure that the child's special, physical, medical, developmental, educational

   or emotional needs were met upon placement pursuant to Florida Administrative Code Rule

   65C-28.004 and 65C-30.011;

              aa. To ensure that upon the placement of a child, all health care facts regarding the

   child are discussed with the caregiver; all health care and Medicaid information contained in the

   child's resource record are reviewed with the caregiver; appropriate information and instruction

   concerning the use of medically assistive devices are provided to the caregiver; pursuant to

   Florida Administrative Code Rule 30.011;

              bb. To ensure that when a child is placed out of state pursuant to the Interstate

   Compact on the Placement of Children, that the services worker maintains contact at a minimum

   of every thirty (30) days with the supervising worker in the other state to obtain updates

   regarding the child and family's progress;

              cc. To provide the necessary support to strengthen and maintain the child's placement

   over time pursuant to Florida Administrative Code 65C-28.005;

              dd. To inform and educate the caregiver about available programs that may provide

    financial and medical assistance for the child pursuant to Florida Administrative Code 65C-

    28.005;




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              ee. To provide the caregiver with infonnation regarding the dependency process and

   support services available in the community pursuant to Florida Administrative Code 65C-

   28.005;

               ff. To infonn the caregiver of all identified needs of the child and the need to provide

   services for those needs pursuant to Florida Administrative Code 65C-28.005;

               gg. To ensure that the caregiver is provided with education, training, and support

   necessary to enable her to meet the child's physical, medical, emotional, psychological,

   developmental, and educational needs pursuant to Florida Administrative Code Rule 30.012;

              hh. To ensure that significant events in the child's life are recorded in a fonnat that

   can be used by subsequent caregivers and professionals pursuant to the Florida Administrative

   Code;

              11.   To maintain, review, and provide the foster parent with a Child Resource Record

   with a complete record of the child's health records pursuant to Florida Administrative Code

   65C-28.005 and 65C-30.011;

              jj. To ensure that the Child Resource Record is developed, monitored, and updated,

   after every health care, psychological, psychiatric, behavioral and educational service or

   assessment provided to the child, pursuant to Florida Administrative Code Rule 65C-30.011;

               kk. Notwithstanding her disabilities, to assess and provide for pre-independent living

   services for SOUNG LANAZA upon turning thirteen years of age and independent living

   servIces upon turning fifteen years of age pursuant to Florida Administrative Code 65C-

   28.009(7)(d);

               11. To ensure that pennanency goals are selected based on the best interest of the

    child and to ensure that the case documentation provides justification that the permanency option



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   recommended to the court is the most appropriate one for the child pursuant to Chapter 39 and

   Florida Administrative Code Rule 65C-30.012;

               mm.         To ensure that upon the selection of Permanent Guardianship as a

   permanency goal, that the prospective guardian is informed that the child will not be eligible for

   any Independent Living programs post-age eighteen (18) benefits pursuant to Florida

   Administrative Code Rule 65C-30.012;

               nn. To ensure that the child and relatives were not likely to need supervision or

   services from OUR KIDS and/or ONE HOPE to ensure the stability of the permanent

   guardianship when the recommendation was made to terminate supervision with a goal of

   permanent guardianship pursuant to Florida Statute § 39.6221, Florida Administrative Code

   Rules 65C-30.012 and 65C-30.022, and CFOP 175-47.

               00.   To ensure that SOUNG LANAZA'S case filed contained a hard copy of

   chronological record of case activities with a complete recording made at the time of or

   immediately following the event or contact pursuant to CFOP 175-42 and Florida Administrative

   Code Rule 65C-ll.002;

           147.      The DEPARTMENT, through its agents and/or employees, breached said non-

   discretionary, non-delegable duties in ways that included, but are not limited to:

                     a.    Failing to ensure SOUNG LANAZA;S health, safety, and welfare at all

    times when she was in the care and custody of the DEPARTMENT and/or its contracted and

    subcontracted providers;

                     b.    Failing to ensure that SOUNG LANAZA'S individual dignity, liberty,

    pursuit of happiness, and the protection of her federally guaranteed civil and other legal rights;




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                   c.     Failing to ensure that SOUNG LANAZA received appropriate and timely

   medical care for her medical conditions, including, but not limited to corrective surgery to treat

   physical conditions related to cerebral palsy and hydrocephalus;

                   d.     Failing to properly respond to concerns indicating SOUNG LANAZA was

   being abuse and/or neglected while in the care and custody of the DEPARTMENT;

                   e.     Failing to timely initiate and follow-through with placement of SOUNG

   LANAZA through the Interstate Compact on the Placement of Children when the

   DEPARTMENT was notified in 1994 that there was a fit and willing relative in New York

   ready, willing, and able to care for SOUNG LANAZA on a permanent basis;

                   f.     Failing to ensure that SOUNG LANAZA achieved permanency within a

   twelve month period;

                   g.     Failing to ensure that SOUNG LANAZA received a Comprehensive

   Behavioral Mental Health Assessment;

                   h.     Failing to ensure that SOUNG LANAZA received services identified as

   being needed in a CBHA;

                   i.     Failing to ensure that SOUNG LANAZA received a full risk, health,

   educational, medical, and psychological screening, and assessment and testing upon adjudication

   into foster care;

                   J.     Failing to ensure SOUNG LANAZA's safety by providing necessary

   medical, emotional, psychological, psychiatric, and educational evaluations and treatment, as

   soon as practicable after identification of the need for such services by a screening and
                                             I




    assessment process;




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                    k.    Failing to ensure that SOUNG LANAZA'S caregiver received appropriate

   training to meet her special needs prior to placing her in New York;

                    1.    Failing to ensure that SOUNG LANAZA'S caregiver was provided with a

   complete Child Resource Record, including, but not limited to, prior medical records, and was

   informed of the need for follow-up procedures, including, but not limited to, shunt replacement

   surgery and corrective surgery for her legs, when SOUNG LANAZA was placed in New York;

                   . m.   Failing to ensure that SOUNG LANAZA'S caregiver received sufficient

   funds to appropriately meet the financial, physical, mental, and behavioral needs of SOUNG

   LANAZA;

                    n.    Failing to ensure that SOUNG LANAZA received a Level of Care

   Assessment initially and an updated Level of Care Assessment when the need indicated;

                    o.    Failing to epsure that SOUNG LANAZA received a change in Level of

   Care when the need indicated;

                    p.    Failing to ensure that SOUNG LANAZA received appropriate services

   when she was placed in N ew York, including, but not limited to, Developmental Disability

   Services and Medicaid Waiver Services;

                    q.    Failing to ensure that SOUNG LANAZA'S case file was complete and

   that her case was ready for transfer when it was transferred to OUR KIDS and/or ONE HOPE;

                    r.    Failing to appropriately monitor its contract with OUR KIDS to assess

   OUR KIDS' performance in the areas of ICPC and services to children with developmental

   disabilities;




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                    s.      Failing to ensure that OUR KIDS appropriately monitored its

    contract/agreement with ONE HOPE to assess ONE HOPE'S performance in the areas of ICPC

    and services to children with developmental disabilities;

                    t.      Failing to ensure that appropriate consent and/or court order was obtained

    prior to SOUNG LANAZA's taking of psychotropic medications;

                    u.      Failing to ensure that SOUNG LANAZA received Independent Living

    services and Pre-Independent Living services upon turning the age of thirteen (13);

                    v.      Failing to ensure that SOUNG LANAZA's case was closed                III   an

    appropriate manner so that her financial, physical, mental, and behavioral needs could be met

    long term;

            148.    As a direct and proximate result of the aforementioned breach, Plaintiff SOUNG

    LANAZA was damaged by not receiving adequate care and services to address her

    developmental disabilities while in the care and custody of the state; by remaining in foster care

    for the majority of her minor life; and' by suffering and continuing to suffer deterioration in her

    health. These losses are either permanent or continuing in nature and Plaintiff will suffer such

    losses in the future.

            WHEREFOru;:, Plaintiff, SOUNG LANAZA demands judgment against Defendant

    FLORIDA DEPARTMENT OF CHILDREN AND FAMILY SERVICES, for compensatory

    damages, costs, and all other such relief as the Court may deem just and proper.

                                        DEMAND FOR JURY TRIAL

            Plaintiff hereby demands a jury trial on all matters so triable.




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          Dated: April 25, 2012.



                                                       Respectfully submitted,



                                                       ~~ENFELD'ESQ.
                                                       Florida Bar No. 312398
                                                       STACIE J. SCHMERLING, ESQ.
                                                       Florida Bar No. 0083862
                                                       Counsel for Plaintiff
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                                        CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 25 th day of April, 2012, that the foregoing document
   was served via U.S. Mail and/or electronic mail on all counsel and/or pro se parties of record as
   identified on the Service List below.




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                                          SERVICE LIST
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